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                                     ORDERED.


     Dated: July 16, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

 In re:

 IPS WORLDWIDE, LLC,                          CASE NO.: 6:19-bk-00511-KSJ

                Debtor,                       CHAPTER 11

 ____________________________/

             ORDER APPROVING MOTION FOR AN ORDER PURSUANT TO
                 FED. R. BANKR. P9019 FOR AN ORDER APPROVING
            THE COMPROMISE AND SETTLEMENT OF CREDITOR CLAIMS

          THIS CASE came on for consideration upon the motion, pursuant to Rule 9019 of the

Federal Rules of Bankruptcy Procedure, of CHAPTER 11 TRUSTEE, ALEX D. MOGLIA

(“Trustee”) for IPS WORDWIDE, LLC (“IPS” or the “Debtor”), for the entry of an order

approving the compromise and settlement of creditor claims to certain bank accounts maintained

by the Debtor, filed with the Court on June 12, 2019 (Doc No. 426) (the “Motion”). Upon

consideration of the Motion, the Court notes that the Motion was served upon the United States
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Trustee and all interested parties with the Local Rule 2002-4 negative-notice legend informing the

parties of their opportunity to object within twenty (21) days plus three days for mailing from the

date the paper was entered on the docket, that no party has filed an objection within the time

permitted, and the Court is otherwise fully advised in the premises. Accordingly, it is

           ORDERED:

           1.       The Motion is GRANTED and the Compromises1 are APPROVED.

           2.       The Trustee is authorized and directed to consummate the Compromises in

accordance with the terms set forth in the Motion.

           3.       To the extent any Settling Claimant requests the Trustee to execute a written

settlement agreement, the Trustee is authorized to do so, provided the agreement is consistent with

the Motion, without further Court order and such agreements are hereby approved.

           4.       To the extent a Settling Claimant has requested rejection of an executory contract

with Debtor, this order shall be deemed a rejection of such contract.

           5.       Each of the “General Conditions” described in paragraph 12 of the Motion are

hereby approved and are binding on the Debtor, the Debtor’s bankruptcy estate, and on all present

and future representatives of the Debtor’s bankruptcy estate, including, without limitation, the

Trustee and, in the event of a subsequent conversion of the case to a chapter 7 case, any chapter 7

trustee that may be appointed. For the avoidance of doubt, (i) all waivers and releases described

in paragraph 12 of the Motion are hereby granted without further action by any party, and (ii) each

Settling Claimant is hereby granted an allowed unsecured claim, not subject to objection or

reduction, for the balance of their respective claims after receipt of the disbursements outlined in

the table set forth in paragraph 12 of the Motion.


1
    Capitalized terms not otherwise defined shall have the meaning ascribed to such terms as in the Motion.
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         6.       This Court shall retain jurisdiction to enforce and interpret the terms of the Motion

and Compromises.

                                                           ###



Attorney R. Scott Shuker is directed to serve a copy of this order on interested parties and file a proof of service within
three (3) days of entry of the order.
